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              EXHIBIT 6
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                                                                            Page 316
                   UNITED STATES DISTRICT COURT

                FOR THE DISTRICT OF MASSACHUSETTS

    - - - - - - - - - - - - - - -

    IN RE:    PHARMACEUTICAL       ) MDL NO. 1456

    INDUSTRY AVERAGE WHOLESALE     ) CIVIL ACTION

    PRICE LITIGATION               ) 01-CV-12257-PBS

                                   )

    THIS DOCUMENT RELATES TO       )

    U.S. ex rel. Ven-a-Care of     ) Judge Patti B. Saris

    the Florida Keys, Inc.         )

         v.                        ) Chief Magistrate

    Abbott Laboratories, Inc.,     ) Judge Marianne B.

    No. 06-CV-11337-PBS;           ) Bowler

    (caption continues)            )

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       Videotaped deposition of ROBERT B. HELMS, PH.D.

                            Volume II



                               Washington, D.C.

                               Friday, May 1, 2009

                               9:00 a.m.




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 1   was to describe how they were going to come up      1   amount than this in the aggregate.
 2   with their aggregate payment amount, which they -- 2        A. Yeah.
 3   if you go on, they were then going to put into      3       Q. I mean, there's nothing in the
 4   their state plan, their findings and assurances,    4   regulation -- the in the aggregate in this
 5   that they were going to meet the aggregate limit.   5   regulation provides for maximum amounts, right?
 6       Q. I just want to know, sir, if                 6       A. Now I'm thinking I didn't understand
 7   subparagraph A of 42 C.F.R. 447.333 is according 7      your question before. But I think I do.
 8   to you the policy of the United States Government   8       Q. So does the state have to pay the
 9   with respect to state plans for Medicaid purposes.  9   maximum amounts permitted under this regulation or
10       A. Yes.                                        10   could they pay something less as long as in the
11       Q. That's all I want to know. And has it       11   aggregate it's not more?
12   changed as far as you know up until today?         12       A. They can certainly pay less and we
13       A. It's still in the federal regulations as    13   encouraged them to do so. And they kept coming in
14   far as I know. It's still that the state is        14   in their letters and saying they could do that and
15   subject to making that available. I could say      15   they wanted the flexibility to do it which they
16   some things about the practical side of that from  16   couldn't do under the old system. That was a
17   the various testimony and so on that it doesn't    17   motivation to reform the regs. And certainly if
18   seem to be very comprehensive when they actually 18     they could save more then they saved the federal
19   put it in there.                                   19   government money and the state government money.
20       Q. Let me ask this question. If a state        20       Q. You anticipated my next question. Which
21   plan for reimbursing for drugs by Medicaid         21   if they can save more it benefits the federal
22   provides for reimbursement which in the aggregate 22    government and the state government, correct?
                                            Page 490                                                  Page 492
 1   is less than the maximum allowed amount in the      1       A. Yes.
 2   aggregates amounts under the regulation we're       2       Q. Because it's a joint federal/state
 3   looking at here, say your plan results in less      3   funded program, right?
 4   being paid than what they would otherwise be        4       A. That's right. And it has the attaching
 5   allowed -- are you aware of any state plans that    5   rate. And if you go look at my dissent to the
 6   do that?                                            6   Medicaid commission you will even see some
 7       A. No. And I think it's, you know, a            7   analysis of why I think the matching rate takes
 8   hypothetical that is very unlikely.                 8   away the incentives for the states to be very cost
 9       Q. Really?                                      9   conscious about this.
10       A. Well, because you've got -- if I            10       Q. One of you're -- you may not know this,
11   understand your question right -- and I may not    11   but one of your co-experts I believe describes
12   have. Okay? -- you're saying what happens if a     12   this as an incentive for so-called fiscal gaming.
13   state comes in with a plan that's under the        13   Have you ever heard that?
14   amount.                                            14       A. That term was used in the Medicaid
15       Q. Yeah. What if the plan states, look, we     15   commission quite a bit.
16   see your federal upper limit for multiple-source   16       Q. In other words --
17   drugs described in the preceding section of this   17       A. One of the things I learned -- it didn't
18   regulation.                                        18   relate to this case, but I learned from reading
19       A. Mm-hmm.                                     19   this thing that there have been -- we spent a lot
20       Q. But we're going to put -- our               20   of time in what was called provider taxes and so
21   reimbursement system is going to be based upon     21   on that were these schemes that were used to get
22   something that's going to result in a lesser       22   the state more federal matching money. I mean,
                                                                              45 (Pages 489 to 492)
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 1       Q. "The agency payments for brand-name          1       A. Would it surprise me, no, because we
 2   drugs certified in accordance with paragraph        2   urged the states, you know, that we were giving
 3   little C of this section and drugs other than       3   them maximum flexibility. And I think I have read
 4   multiple-source drugs for which a specific limit    4   that there are states that have this sort of all
 5   has been established under Section 447.332 must     5   inclusive system.
 6   not exceed in the aggregate payment levels that     6       Q. Okay. And as long as it's a lesser of
 7   the agency has determined by applying the lower of 7    for each of those factors you would agree that the
 8   the --"                                             8   state would then be in compliance with the
 9           Do you see that?                            9   regulation for both its multisource drugs subject
10       A. Yes.                                        10   to an FUL and all other drugs?
11       Q. And the lower of the, what is the first     11          MR. COOK: Objection.
12   one?                                               12       A. That would be up to the HCFA staff,
13       A. "Estimated acquisition cost plus a          13   first of all, who's reviewing the plan to
14   reasonable dispensing fee."                        14   determine if they think that what they've actually
15       Q. And that estimated acquisition cost we      15   set up would work that way and would meet the
16   know means the agency's best estimate of the price 16   aggregate standard.
17   generally and currently paid by providers for a    17       Q. So if the HCFA staff had reviewed a
18   drug marketed or sold by a particular manufacturer 18   state plan and the state plan was approved by the
19   or labeler in the package size of drug most        19   HCFA administrator or the secretary of HHS,
20   frequently purchased by providers, correct?        20   whoever approves these things -- by the way, who
21       A. That's what the definition says.            21   does approve it, the administrator of HCFA or the
22       Q. All right. And then we go down to           22   HHS secretary?
                                           Page 502                                                  Page 504
 1   number 2, "a provider's usual and customary         1       A. Well, my impression is historically even
 2   charges to the general public." Do you see that?    2   HCFA left it pretty much to the regional
 3       A. Yes.                                         3   administrators. And as Deirdra Duzor has
 4       Q. All right. So would you agree with me -      4   testified at some point they thought the regional
 5   - which is where we started this line of            5   offices were being inconsistent about their
 6   questioning a long time ago -- that the regulation  6   standards and so on and so they attempted to bring
 7   basically provides for the state agency making an   7   it back into the central office. But as a
 8   in the aggregate determination and representation   8   practical matter I don't think these things,
 9   to HCFA for its drugs that are -- multiple-source   9   unless they're particularly controversial, ever
10   drugs that are subject to the federal upper limit  10   even get up to the HCFA administrator. I think
11   on the one hand, and making another in the         11   they're done by the Medicaid staff.
12   aggregate determination and representation to HCFA 12       Q. But when you say done by the staff or
13   for all the other drugs on the other hand?         13   done by the regional administrator or even done by
14       A. That's right. And there's different         14   the administrator, what we're really saying here
15   time requirements on those two categories.         15   is that officially and legally -- or officially --
16       Q. And different time requirements. Now,       16   the secretary of the Department of Health and
17   would it surprise you if a state in its state plan 17   Human Services has the responsibility and has
18   were to meet these requirements by applying a      18   delegated to those various subordinates?
19   formula for all drugs where the state plan         19       A. Yes.
20   provides that it would pay the lesser of usual and 20       Q. So whoever signs off on it is a matter
21   customary, EAC, state MAC or FUL, if set?          21   of internal department authorizations and policies
22          MR. COOK: Objection.                        22   at the time?
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 1      A. Normal operating procedure, yes.              1   indirectly the state funds, correct?
 2      Q. But as far as the regulation is               2       A. I think that's a fair characterization,
 3   concerned, this is a regulation that is -- as you   3   yes.
 4   made the point correctly earlier, this is the       4       Q. All right. And it's a joint
 5   secretary of the Department of Health and Human     5   federal/state program, correct?
 6   Services' regulation, isn't it?                     6       A. Yes.
 7      A. Yes. It's all done under the                  7       Q. And in any regulations where you've got
 8   secretary's name.                                   8   a joint federal/state program the federal
 9      Q. And while the HCFA administrator is an        9   regulations are there to, at least in part,
10   important official position -- isn't it?           10   protect the federal FISC, correct?
11      A. Oh, yes.                                     11       A. Meaning -- FISC meaning the federal
12      Q. The secretary of HHS is a cabinet level      12   expenditures?
13   secretary?                                         13       Q. Correct.
14      A. That's right.                                14       A. Because as you well know this is an
15      Q. Okay. Who reports directly to whom?          15   open-ended entitlement. It's not an appropriated
16      A. To the President.                            16   amount from the Congress.
17      Q. To the President. So if I understand         17       Q. Right. Well, okay. Thank you for
18   this regulation then, if a state plan were         18   correcting me. But the bottom line is the
19   approved that paid the lesser of usual and         19   regulation that is in part due to your good work
20   customary, federal upper limit, state MAC or EAC 20     was there to at least in part protect the federal
21   for all drugs and it saved money so that less was  21   tax dollars, correct?
22   paid than the amount that would be paid based upon 22       A. Yes. I would have to agree with that.
                                           Page 506                                                   Page 508
 1   the in the aggregate for the drugs subject to the   1   We put a good bit of emphasis in -- as I testified
 2   FUL alone, those savings would be shared by the     2   yesterday, that was one of -- I think the major
 3   federal and state government, correct?              3   objective of trying to reform these things.
 4           MR. COOK: Objection.                        4      Q. Now, in preparing your expert -- doing
 5       A. It's my understanding -- yes. If those       5   your expert work in this case I think you read Mr.
 6   savings are reflected in the claims that go in      6   Scully's deposition. Right?
 7   through the normal process of reimbursement and it 7       A. No. I have not. I was actually not
 8   meets -- that then goes through, as I understand    8   aware that that had been taken until I saw it on
 9   it, a second sort of double-check and auditing and  9   some list. But I have not read it.
10   so on before they send the -- well, actually,      10      Q. How about Mr. Scully's testimony in
11   there is a system of sending the federal financial 11   September of 2001 before the House Committee On
12   payment on the basis of estimates and then they're 12   Commerce and Energy?
13   resettled later after they do some checking to     13      A. I have known Tom for years. I consider
14   make sure they're accurate.                        14   him a friend. But I was not aware of that
15           So there is a separate auditing system     15   particular testimony.
16   that's supposed to be controlling the payment of   16      Q. Do you know what he testified about
17   the federal money back to the states.              17   average wholesale price and its use to estimate
18       Q. So if I understand the regulation from      18   acquisition cost of drugs?
19   the perspective of your area of expertise, which   19          MR. COOK: Objection.
20   is what I'm trying to get here, we've got a        20      Q. Let me restate the question. Do you
21   regulation that's got basically some checks and    21   know that he testified about average wholesale
22   balances in it to protect the federal funds and    22   price and its relationship to Medicare
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 1   other systems, going to some other system if they     1   question. And it's not part of my opinion.
 2   wanted to under the regulation. So that's what my     2   BY MR. BREEN:
 3   expert opinion is about, the activities, the          3       Q. My question is whether it's part of your
 4   options, that the states had under the regulation.    4   opinion or not, because you were there, sir --
 5      Q. But the states stuck with the compendia         5       A. Mm-hmm.
 6   because that was the most efficient and cost          6       Q. -- you were the deputy assistant
 7   effective way to reimburse for the health care        7   secretary and later became the assistant
 8   needs of their poor, correct?                         8   secretary, you were the senior economist in our
 9          MR. COOK: Objection.                           9   Department of Health and Human Services in terms
10      A. There were lots of testimony before our        10   of your position. You've said you had
11   public hearing and also in the letters, you know,    11   responsibility for this regulation. And I want to
12   in defense of that system that it did provide them   12   know if you knew at that time you expected that a
13   with a sort of practical way to handle the claims    13   drug company after the regulation was promulgated
14   process.                                             14   would increase its price report so that its
15      Q. So as the senior economist --                  15   average wholesale price went from the $25.20 level
16      A. Is the what?                                   16   to the $72.42 level when its real price went down
17      Q. As the senior economist in our                 17   to the $4 level, did you know that was going to
18   government responsible for the health care arena     18   happen? Did you expect that kind of thing to
19   and specifically responsible for advising our        19   happen?
20   government --                                        20          MR. COOK: Objection.
21      A. Mm-hmm.                                        21          MS. REID: Objection.
22      Q. -- on this regulation, did you expect          22       A. Let me say again I have no particular
                                             Page 574                                                  Page 576
 1   that a drug company would after the regulation was 1      knowledge of this case. I have no way to judge
 2   promulgated cause its average wholesale price to    2     the numbers that you have used. But I will go
 3   be increased from $25.20 to $76.42 over a 13 year 3       back and say what we thought about that as a
 4   period when in fact and in truth its real prices    4     general matter, that we didn't see -- we viewed
 5   were falling precipitously all the way down to $4? 5      that this list price was an ordinary business
 6          MR. REALE: Objection.                        6     practice that, as I talked about yesterday, that
 7          MR. COOK: Objection.                         7     was part of the marketing strategy to be able to
 8      A. Well, let me say that particular example      8     sell to different groups of people at different
 9   I don't have any details about. I have not          9     prices.
10   studied that.                                      10            And if you're going to do that you don't
11          MR. BREEN: Objection, nonresponsive,        11     want to reveal the discounts that you've
12   move to strike. I'd ask the court reporter to      12     negotiated with one buyer with another buyer. And
13   read my question back ask listen to it carefully   13     we viewed this in the pharmacy context that if we
14   and I want an answer.                              14     had a system where the state was doing this, I
15             (Whereupon, the requested portion        15     don't think that we thought that the pharmacist --
16   was read by the reporter.)                         16     that the company had any basic incentive.
17          MS. REID: Same objection.                   17            Their usual sort of way to get market
18          MR. COOK: Objection.                        18     share was not to manipulate the list price, but to
19      A. I have no basis for answering your           19     go out through detailing and advertising and so on
20   question. I have not studied this market even in   20     to the physicians who were writing the
21   terms of the individual drug or the class of       21     prescriptions, and as time evolved and pharmacists
22   drugs. So I have no basis for answering your       22     began to have more power to substitute things,
                                                                               66 (Pages 573 to 576)
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 1   then to go directly to the pharmacist, you know,    1          MR. COOK: Objection.
 2   and give them incentives to substitute their        2       A. No. That's it's outside the scope of
 3   generic products when they could do it.             3   what I've been asked to look at.
 4       Q. Thank you.                                   4       Q. Well, I just don't want to keep asking
 5       A. So I'm -- that's I think the best answer     5   the same question and leave it hanging because
 6   I can give you.                                     6   maybe what you mean is no I wasn't asked to look
 7          MR. BREEN: Thank you. Let's take a           7   at it but maybe you do have some information about
 8   break.                                              8   it.
 9          THE VIDEOGRAPHER: This is the end of         9       A. Well, I think you should have learned by
10   tape 4. Off the record at 4:03.                    10   now that if I know something about it I volunteer
11             (Recess.)                                11   it, you know. It goes against all the advice I
12          THE VIDEOGRAPHER: This is the beginning 12       get from lawyers, not just these, but -- but I
13   of tape 5 in the deposition of Dr. Helms. On the   13   usually try to give you a straight answer about
14   record at 4:15.                                    14   what I know and what I don't.
15   BY MR. BREEN:                                      15       Q. Okay.
16       Q. You refer to IV pharmacy a couple times     16       A. And in these particular company-related
17   in your report. And -- correct?                    17   questions I do not know -- I have not looked at
18       A. I think so, yes.                            18   them and I don't have any basis for answering your
19       Q. Now, prior to being engaged as an expert    19   questions.
20   in this case did you have any area of expertise in 20       Q. Okay. Are you aware that in the late
21   the area of IV pharmaceuticals?                    21   '90s and perhaps after that several states
22       A. No.                                         22   increased their dispensing fee or administrative
                                           Page 578                                                  Page 580
 1       Q. So any information about IV                  1   fee for the IV pharmaceuticals?
 2   pharmaceuticals in this case would it be correct    2       A. I have read in some of the publications
 3   to say that you were just assuming facts as they    3   that the whole history of this line of treatment
 4   were presented to you to be true?                   4   has evolved a lot since the 1980s and that there
 5       A. No. I wouldn't say I'm assuming facts.       5   has been a lot of emphasis on trying to get more
 6   I read several things about it.                     6   of this out of the hospital into the home. And it
 7       Q. Okay. Do you know that Abbott                7   was very cost effective. I've even seen reference
 8   Laboratories had its own IV pharmacy provider       8   to one study about this done by a pharmacy school,
 9   operation?                                          9   a pharmacy professor, about the cost savings of
10       A. I don't know much about that. I think       10   getting this into home therapy. So there were
11   it was mentioned that they have products in that   11   advantages -- I'm aware of those market
12   line.                                              12   developments.
13       Q. Okay. Well, do you know they actually       13          And your question -- I'm sorry. Your
14   had reimbursement systems that they used for their 14   question was --
15   own pharmacies and for client pharmacies where     15       Q. Are you aware that -- it was a different
16   they would bill Medicare and Medicaid and others? 16    question. I'll ask it again.
17       A. No. I have not been asked to look at        17       A. Yeah.
18   that.                                              18       Q. Are you aware that in the late '90s the
19       Q. Just so I'm clear about this, whenever I    19   states began to increase the administrative or
20   ask you a question and you say no I have not been 20    dispensing fee for IV pharmacies?
21   asked to look at that, you mean no you don't know 21        A. Yes. And I meant to get to that. I was
22   and no you didn't look into it, right?             22   aware and I've read some about that some of the
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